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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                   08/23/2024
                                                                       :
BARBARA HANDSCHU, et. al.,                                             :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :          71-cv-2203 (LJL)
                  -v-                                                  :
                                                                       :              ORDER
POLICE DEPARTMENT OF THE CITY OF NEW                                   :
YORK et al.,                                                           :
                                                                       :
                                    Defendants.                        :
                                                                       X
----------------------------------------------------------------------

LEWIS J. LIMAN, United States District Judge:

        Pursuant to Section VI(5)(k) of the Operative Handschu Guidelines, Dkt. No. 473, this
Order provides notice that the Court has received a copy of the Annual Report of the Civilian
Representative pursuant to Section VI(5)(i). Pursuant to the Operative Handschu Guidelines, the
Court will maintain the content of the report in confidence and under seal. The New York Police
Department has 21 days from the date of the filing of this notice to notify the Court of the
information set forth in Section VI(5)(k). In the absence of any expressed concerns by the
NYPD or if the Court determines that the document should be made public without redactions
despite objections by the NYPD, a copy of the report will be filed on the public docket and
served on class counsel.

        The Court further provides notice that the Civilian Representative has agreed to meet
with the Court and its staff to provide background on the history of this over 50-year-old case
and the Court intends to take the Civilian Representative up on that invitation. Any party
objecting to that meeting or desiring a similar opportunity shall so inform the Court by letter
filed on ECF no later than 14 days after the date of this Order.

        SO ORDERED.



Dated: August 23, 2024                                     __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
